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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION
JENNIFER SMITH,

      Plaintiff,

v.                                         Case No. 6:24-cv-00457-PGB-RMN

FLORIDA A&M UNIVERSITY
BOARD OF TRUSTEES; ALLYSON
WATSON, individually and in her
official capacity; D. DENISE
WALLACE, individually and in her
official     capacity;   LATONYA
BAKER, individually and in her
official    capacity;   LATRECHA
SCOTT, individually and in her
official capacity; RICA CALHOUN,
individually and in her official
capacity; GRAY ROBINSON, P.A.;
JULIE ZOLTY; and RICHARD E.
MITCHELL,

     Defendants.
___________________________

                      SECOND AMENDED COMPLAINT
      Plaintiff, Jennifer Smith ("Professor Smith”), makes the following allegations

 against Defendants Florida Agricultural & Mechanical University Board of Trustees

 (“Defendant FAMU” or “FAMU”), Allyson Watson ("Defendant Watson”), D. Denise

 Wallace ("Defendant Wallace”), Gray Robinson, P.A. (“Defendant Gray Robinson”),

 Latrecha Scott (“Defendant Scott”), Rica Calhoun (“Defendant Calhoun”), Julie Zolty

 (“Defendant Zolty”), and Richard E. Mitchell (“Defendant Mitchell”).
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                                      INTRODUCTION

       Over the past decade, school violence against faculty has emerged as a growing

concern, with numerous incidents highlighting the vulnerability of educators. Reports

indicate a troubling increase in physical assaults, verbal threats, and acts of intimidation

directed at teachers and administrative staff.1 University professors are not exempted

from the increasing number of violent acts, intimidation, harassment or threats that

students have displayed in recent years.2

       Amid these growing concerns, on October 20, 2022, an unprovoked and enraged

student, then-unknown to Professor Smith, barged into her ongoing class to demand a

seat for the next class. Professor Smith reported the incident with the then-unidentified

student to Associate Dean of Students, Reginald Green. Instead of following FAMU

Regulations and forwarding the complaint to FAMU’s Compliance & Ethics Department


1
  Susan D. McMahon et al., Violence Against Educators and School Personnel: Crisis During COVID
Technical Report, AMERICAN PSYCHOLOGICAL ASSOCIATION (2022), https://www.apa.org/education-
career/k12/violence-educators-technical-report.pdf.
2
  Claudia Lampman, Women Faculty at Risk: U.S. Professors Report on their Experiences with Student
Incivility, Bullying, Aggression, and Sexual Attention, 5 NASPA J. ABOUT WOMEN IN HIGHER EDUC.
184, 184 (2012) (“In this study of a random sample of 524 professors . . . from 100 colleges and
universities across the United States, 91% reported at least one act of student incivility/bullying, 25%
experienced at least one sexual behavior from a student, and 1–2% said a student had used or threatened
them with violence in the past year.”); Colleen Flaherty, Shattered: A Professor’s Murder at the
University of Arizona, Apparently by a Former Student,Raises Urgent Concerns About Campus Safety.
He Wasn’t the First Professor Killed Atwork, Either., INSIDE HIGHER ED (Oct. 12, 2022),
https://www.insidehighered.com/news/2022/10/13/professors-murder-campus-raises-urgent-safety-
questions (detailing several university professors who were killed by students); see also Thyrie Bland,
FSW Professor Granted Temporary Restraining Order Against Student, NEWS-PRESS (Mar. 2, 2018),
https://www.news-press.com/story/news/education/2018/03/02/fsw-professor-granted-temporary-
restraining-order-against-student/389244002/; Nadine El-Bawab, UNC Chapel Hill Professor Killed in
Office was Shot 7 Times, Medical Examiner Says, ABC NEWS (Oct. 6, 2023),
https://abcnews.go.com/US/unc-chapel-hill-professor-killed-office-shot-7/story?id=103780698.
                                                   2
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or investigating the complaint pursuant to the College of Law Student Code of Conduct,

Associate Dean Green did nothing, including failing to preserve video footage. Nearly

100 days had passed before, and almost two weeks after Professor Smith submitted her

response to FAMU’s rebuttal to her U.S. Equal Employment Opportunity Commission

(EEOC) equal pay lawsuit, FAMU initiated a retaliatory investigation targeting only

Professor Smith for the student intrusion. This employment discrimination and civil

rights case was initially centered on a retaliatory investigation precipitated by Professor

Smith’s campaign for equal pay for women at the Florida A&M University College of

Law ("FAMU"). Finding the enraged student’s version of the class incident completely

baseless, FAMU then independently manufactured a claim of retaliation to fabricate

cause to terminate Professor Smith. This unlawful termination and blatant retaliation

implicates several contractual and previously unpled civil rights issues transforming this

case into a much more serious action for judicial intervention.3

       Professor Smith asserts the following allegations upon information, belief, and

investigation of counsel:

                              JURISDICTION AND VENUE

       1.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331 and

1343. Jurisdiction is also based on federal questions under Title VII of the Civil Rights



3
 This pleading was updated from prior versions and since the initial complaint was filed in October
2023 based on Defendant’s continued actions, intervening administrative hearings, and to ensure
accuracy of new facts and circumstances.
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Act of 1964, the Equal Pay Act of 1963, the First and Fourteenth Amendments to the

U.S. Constitution, and 42. U.S.C. § § 1983, 1985 and 1986.

      2.     Venue is proper in this district under 28 U.S.C. § 1441 because Defendant

FAMU removed from the Ninth Judicial Circuit Court in and for Orange County, and

the Orlando Division of the Middle District of Florida is the “district court of the United

States for the district and division embracing the place where such action [wa]s

pending.” Moreover, the locus of operative facts and many of the witnesses and parties

are located or operate in this district consistent with the command of § 1391.

                      ADMINISTRATIVE PREREQUISITES

      3.     All conditions precedent to bringing this action have occurred.

                                       PARTIES

      4.     Professor Smith is a woman, United States citizen, and resident of Orange

County, Florida.

      5.     Defendant FAMU is a state university within the Florida state university

system headquartered in Tallahassee, Florida. Defendant FAMU operates a law school

in Orlando, Florida (the “College of Law”).

      6.     Defendant Watson is the Provost and Vice President for Academic Affairs

at FAMU, and at all relevant times was acting under color of state law.

      7.     Defendant Wallace is the General Counsel of FAMU, and at all relevant

times was acting under color of state law.
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      8.     Defendant Baker is the Director of Compliance and Chief Privacy Officer

for FAMU, and at all relevant times was acting under color of state law.

      9.     Defendant Scott is the Director of Equal Opportunity Programs for FAMU,

and at all relevant times was acting under color of state law.

      10.    Defendant Calhoun is the Chief Compliance & Ethics officer for FAMU,

and at all relevant times was acting under color of state law.

      11.    Defendants Watson, Wallace, Baker, Scott, and Calhoun are collectively

referred to as the “University Employee Defendants.”

      12.    Defendant Mitchell is of counsel for Gray Robinson and serves as outside

counsel to FAMU.

      13.    Defendant Zolty is an associate attorney with Gray Robinson and serves as

outside counsel to FAMU.

      14.    Defendant Gray Robinson is a Florida law firm that serves clients nationally

from 15 offices across Florida and Washington, D.C.

      15.    Defendants Mitchell, Zolty, and Gray Robinson are collectively referred to

as the “Gray Robinson Defendants.”

                             GENERAL ALLEGATIONS

      16.    Professor Smith was employed by FAMU from 2004 up through and

including at least April 2024 when she received monies from FAMU, and she had an


                                            5
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exemplary record of service.

      17.    In May 2004, Professor Smith started working voluntarily for Defendant

FAMU at the COL based on a fulfilled promise by then-Dean Percy Luney that she

would be paid in the future for her efforts in establishing the law clinics at the new law

school. Her official start date as a law professor was August 8, 2004.

      18.    Professor Smith performed the duties of a law professor, which includes

teaching, scholarship and service, and she was subject to the direction and control of

Defendant FAMU at all times relevant to this litigation.

      19.    Defendant FAMU has neither changed the duties and responsibilities of law

professors nor the skill or expertise required of law professors from 2004 to date.

Professors at the COL perform substantially equal work in terms of skill, effort, and

responsibility, under similar working conditions. Former Dean Pernell previously

testified that this is the case for all professors at the law school, irrespective of subject

matter. Pernell Deposition, (Ex. 4).

      20.    Defendant FAMU does not use subject matter “specialists” to classify law

professors. (Ex. 1, p. 3)

      21.    Defendant FAMU has neither employed nor maintained any logical or

consistent approach in assigning law professors to teach courses.

      22.    Professor Smith was a tenured full professor from 2016 until her unlawful,

purported termination.
                                             6
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      23.     On August 16, 2013, then Dean Pernell, Professor Smith’s immediate

supervisor, evaluated her as excellent in teaching, scholarship and service for the 2012-

13 academic year.

      24.     In May 2014 for year 2013-14, then Dean Pernell evaluated Professor

Smith as excellent in teaching, scholarship and service for the 2013-14 academic year.

      25.     Law faculty were not re-evaluated again for nearly a decade until Professor

Smith reported that to BOT board members at a meeting with the faculty at the College

of Law.

      26.     In 2015 after Professor Smith sued for equal pay, Defendant FAMU

recognized there was gender inequity of up to $20k in its law faculty salaries in “An

Analysis of Instructional Faculty Salary Equity in the Florida Agricultural and

Mechanical University College of Law,” prepared by the Florida A&M University

Office of Institutional Research (August 2015), which found that for tenured full

professors:

                    a) Average and median salaries for instructional faculty in the
                       college were computed by gender and rank. As Table 2 shows,
                       for the 2014-15 academic year the average and median salaries
                       for male College of Law instructional faculty exceeded those of
                       female instructional faculty at both the Professor and Associate
                       Professor ranks. The average salary for males holding the rank
                       of Professor exceeded the average for females at the same rank
                       by $17,691. (P. 3)

                    b) The model estimated that on average, when controlling for other
                       factors male faculty in the College of Law at the rank of
                       Professor earned $20,199 more than their female colleagues. (P.
                                             7
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                       10)

                    c) Focusing exclusively on College of Law faculty at the Professor
                       rank, the results from Model 2 suggest that in general female
                       faculty at the Professor rank in the FAMU of College earned
                       less than their male counterparts. (P. 13) (Ex. 2)

                        EQUAL PAY ALLEGATIONS

      27.    In 2016, Defendant FAMU informally or formally created a “lockstep”

salary structure whereby associate professors were set at a base salary of $120,000 and

full professors were set at a base salary of $140,000, subject to nominal increases based

on that person’s year at the particular rank, tenure status, and years tenured. (Ex. 12)

      28.    On August 9, 2021, Defendant FAMU hired Ewanrinareto “Areto”

Imoukhuede (“Comparator”), a male professor to the same or similar position as

Professor Smith – tenured full professor at the College of Law. His duties are also

teaching, scholarship and service.

      29.    Professor Smith and Comparator performed substantially equal work in

terms of skill, effort, and responsibility, under similar working conditions as tenured law

professors at the COL. (Ex. 4)

      30.    Despite performing substantially equal work, Defendant FAMU paid

Professor Smith nearly $25k less than Comparator for performing the same or similar

job duties, and Professor Smith has ten years more legal experience than Comparator.

      31.    Comparator’s pay at the time he was hired is about $25k greater than the

2016 “lockstep” structure.
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         32.   The increased pay that Comparator received and receives has not been

based on superior skill, education, or experience or any other legitimate factor.

         33.   The EPA, 29 U.S.C. § 206 et seq., prohibits employers from paying

employees of one sex less than employees of the opposite sex for equal work on jobs

requiring equal skill, effort, and responsibility, under similar working conditions.

         34.   Defendant FAMU has discriminated against Professor Smith on the basis

of sex by paying her a lower wage rate than Comparator for equal work on jobs requiring

equal skill, effort and responsibility, performed under similar working conditions, in

violation of the Equal Pay Act.

         35.   Defendant FAMU violated the EPA by paying Professor Smith less than

Comparator for performing substantially equal work.

         36.   As a result of Defendant FAMU's unlawful conduct, Professor Smith has

suffered lost compensation and other damages, and is entitled to attorney’s fees and

costs.

                                    SPECIFIC ALLEGATIONS

         37.   On May 9, 2022, Professor Smith emailed the president of FAMU, Dr.

Larry Robinson, about the disparity in pay between her and Comparator. Given the

history of litigation and the media attention it garnered,4 resulting FAMU’s 2015 salary


4
        Professor       Files       Gender-Discrimination        Suit         Against       FAMU,
https://www.tallahassee.com/story/news/local/2014/08/07/professor-files-suit-against-famu-college-
of-law/13725423/.
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 Study (Ex. 2),5 Professor Smith reasonably believed that notifying the FAMU President

 that women were still underpaid at the law school would invoke swift change.

        38.     On June 28, 2022, Professor Smith filed an informal gender equity

 complaint with Defendant FAMU’s Equal Opportunity Program (“EOP”)

        39.     On September 22, 2022, Defendant FAMU’s EOP department sent its

 investigative report to Professor Smith (2022-FAMU-F-05-005), denying any pay

 inequities without any rationale for paying Comparator more than Professor Smith. From

 this point, Defendant FAMU and University Employee Defendants began a campaign of

 retaliatory acts based on Professor Smith’s statutorily protected activity.

        40.     On October 18, 2022, Professor Smith filed a Charge of Discrimination

 with the EEOC under the Equal Pay Act.

        41.     October 20, 2022, at precisely 10:30 am, Professor Smith reported a

 violation of the Code of Conduct to Associate Dean of Students Reginald Green via text

 message, pertaining to an incident involving an irate and unidentified female student,

 later identified as Michelle Wanamaker (“MW”), whose is now Michelle Sadiki.

 Professor Smith regularly reported conduct violations to Green via text message because

 she chaired the Student Conduct & Disciplinary Committee, and Green was a member

 of the Committee as Associate Dean of Students.



 5
  “The study was conducted at the request of the university’s Provost, and in response to recently
 raised concerns about potential salary inequities within the college.” (Ex. 2, p. 2).
                                                   10
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          42.   Professor Smith alleged that MW displayed deliberate, aggressive, and

 confrontational behavior, specifically described as “so rude” and “aggressively rude,”

 by barging into a class session in which she was not enrolled, fully aware that the

 classroom was being used by Professor Smith, as evidenced by a crowd of over 40

 students gathered in the hallway, respectfully awaiting the conclusion of the ongoing

 class.

          43.   The incident unfolded when MW entered the classroom through the back

 door and declared that her professor told her that she needed to sit down to get ready for

 the next class starting at 10:30am.

          44.   After being instructed to leave by Professor Smith, MW was then very irate

 and positioned herself outside the front door of the classroom, awaiting an opportunity

 to re-confront Professor Smith about Professor Smith using the classroom that Professor

 Smith had reserved a few weeks earlier for a make-up class. (Ex. 3) Professor Smith had

 never encountered MW before this occurrence at the law school and had no idea who

 this unhinged person was.

          45.   On November 1, 2022, Professor Smith went to follow up on the October

 20, 2022 complaint by visiting Associate Dean Green’s office. Professor Smith was told

 by his assistant, Teresa Pissini, that Associate Dean Green was on vacation, so his

 assistant emailed Professor Smith acknowledging Professor Smith’s visit and said that

 she would let Associate Dean Green know.

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       46.   Classes ended for the semester 17 days later on November 18, 2022.

       47.   Sometime later, Professor Smith learned from another professor, Patricia

 Broussard, how remorseful and ashamed MW was said to be, specifically because MW

 did not know that she was clerking for the firm where Professor Smith had been a

 partner. So on December 18, 2022, Professor Smith sent MW the following email to give

 MW peace about her employment opportunities:

                    Hi. I am the professor who you met accidentally in the hallway
                    several weeks ago (late Oct) when I was doing makeup exams in
                    the classroom on the second floor. I was a partner with H&K where
                    you will work this summer. I am proud of you and would not do
                    anything to interfere with a student's career. I wish you the best,
                    and if I can ever help you in any way, please reach out.

                                             Best,

                                             Prof. Smith

       48.   MW did not respond.

       49.   Professor Smith heard nothing else from Associate Dean Green, so she

 believed Defendant FAMU believed her complaint was not investigation-worthy.

       50.   According to Defendant Baker, Associate Dean Green violated FAMU

 Regulations by failing to send Professor Smith’s complaint to FAMU’s Compliance

 Department (“Compliance”) to be investigated. (Ex. 5)

       51.   Associate Dean Green also failed to follow the Law School’s Student

 Handbook or Faculty Handbook, which directed him to investigate student codes of

 conduct violations, which he normally did when Professor Smith sent him texts or emails
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 as chair of the Student Disciplinary & Conduct Committee. (Exs., 9, 10-Handbooks)

       52.    To Professor Smith’s surprise, and merely 16 days after she submitted her

 rebuttal to the EEOC concerning Defendant FAMU’s position statement on equal pay

 that admitted Professor Smith was underpaid, Professor Smith learned that Defendant

 FAMU had begun an investigation of the October 20, 2022 incident MW, but only

 against Professor Smith.

       53.    On January 26, 2023, nearly 100 days after Professor Smith initially

 reported the MW incident, Defendant FAMU contacted Professor Smith to begin an

 investigation into the MW incident because of Professor Smith’s protected activity

 seeking equal pay. But even more surprising, Defendant FAMU’s investigation made

 Professor Smith the target, even though Defendant FAMU had assured Professor Smith

 it would look into the incident based on her complaint by text to Associate Dean Green.

 Then to Professor Smith’s further surprise, Defendant FAMU via Defendant Baker

 informed Professor Smith on or about January 26, 2023 that the outcome of the

 investigation could be her termination. On January 27, 2023, Professor Smith first

 learned that the subject matter of the investigation was MW’s complaint against

 Professor Smith, as well as the severity of MW’s allegations and the blatant and obvious

 falsities contained within them.

       54.    Defendant FAMU suddenly revived MW’s complaint merely sixteen days

 after Professor Smith submit her rebuttal to Defendant FAMU’s statement to the EEOC

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 concerning equal pay.

       55.    By suddenly reviving the stale complaint, Defendant FAMU failed to

 request or preserve key surveillance video evidence, delayed requesting the surveillance

 video for 104 days (from October 20, 2022 to January 31, 2023) to destroy key evidence

 that would have immediately exonerated Professor Smith, failed to follow its own Code

 of Conduct and Regulations, failed to investigate Professor Smith’s complaint against

 the student, and intentionally disregarded evidence supporting Professor Smith’s

 allegations of deliberate disruptive conduct by MW. These failures demonstrate the true

 motivation for the investigation was not the student’s reported concern but rather to

 strike back at Professor Smith for her EEOC activity. Associate Dean Green’s email

 confirms this because, despite the blatant falsities and implausibilities within the student

 complaint, FAMU nevertheless decided to proceed with an obviously meritless

 complaint to retaliate against Professor Smith for her protected activity.

       56.    Defendant FAMU then carried on a clearly unwarranted investigation from

 January 26, 2023 until June 5, 2023, ultimately finding all of MW’s allegations to be

 absolutely meritless. FAMU also independently manufactured a finding of retaliation,

 which was subterfuge to create a false disciplinary record against Professor Smith and

 to punish her for again seeking equal pay.

       57.    MW was the admitted instigator who, on both occasions on the day of the

 incident, purposefully confronted Professor Smith and interrupted her class, then MW

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 falsely claimed that she was in fear of her safety with over 40 students in the hallway

 after MW’s repeated voluntary and intentional confrontations with Professor Smith, who

 had no idea who this person was.

       58.   On February 15, 2023, another law professor, Maritza Reyes sent an email

 providing great insight into MW’s deliberate disruption of Professor Smith’s class on

 October 20, 2022. In the email, Reyes stated that MW entered Professor Smith’s class

 that day to “remind [Professor Smith] that [Reyes] was about to start class in the

 classroom where [Professor Smith was] conducting one-on-one sessions with students

 from [her] civil procedure course. [Professor Smith was] not supposed to be in that

 classroom where [Reyes] was going to start class in a few minutes. [Professor Smith

 was] assigned to teach civil procedure in the classroom next door, yet [she] chose to

 remain in the classroom where [Reyes] was due to start teaching evidence to disrupt

 [Reyes’] class, which [Professor Smith] did.”

       59.   It became clear from this email that MW knew Professor Smith was in the

 classroom; that MW deliberately disrupted [Professor Smith’s] class; and that MW was

 the admitted instigator both times she ambushed Professor Smith on October 20, 2022.

       60.   Furthermore, Professor Smith was in her classroom next door to teach civil

 procedure at 10:30am, and thus could not have disrupted Reyes’ class, which started at

 10:30am.

       61.   Reyes was late to class that day, so she could not have possibly observed

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 the incident to write such a detailed email. Professor Smith had reserved the particular

 classroom through all the proper channels at the COL to use on October 20, 2022 until

 10:30am. (Ex. 3)

       62.   On February 20, 2023, Defendant Scott emailed Professor Smith to inform

 her that Professor Reyes filed a complaint against Professor Smith and that FAMU EOP

 was opening an investigation. Not only was that false, but Scott had actually requested

 Professor Reyes to file a complaint against Professor Smith, which Reyes declined to

 do, and encouraged Professor Smith to do the same.

       63.   On March 9, 2023, Professor Smith re-filed her original complaint she had

 initially texted to Associate Dean Green on October 20, 2022 to Compliance, but this

 time Professor Smith filed it via the hotline because Professor Smith was advised that

 her original complaint was not properly submitted by Associate Dean Green to

 Compliance per FAMU Regulations.

       64.   On March 10, 2023, the Compliance department immediately deleted

 Professor Smith’s resubmission. Defendant Baker then emailed Professor Smith, stating

 that Compliance’s report would include her statement about the October 20, 2022

 incident in the ongoing investigation. However, Defendant Baker’s email did not address

 Professor Smith’s initial allegations that were made before the student’s complaint,

 which was the main focus of the investigation.

       65.   On March 10, 2023, Professor Smith tried to clarify in an email to ensure

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 Defendant FAMU would be investigating her October 20, 2022 complaint and MW’s

 October 27, 2022 complaint.

       66.    To date, Defendant FAMU has not investigated Professor Smith’s October

 20, 2022 complaint as it is completely ignored in the final reports and in the two notices

 of termination.

       67.    On March 13, 2023, Compliance wrote an email and asked the law school

 leadership to meet with Professor Smith concerning the March 9, 2023 re-submission of

 her complaint.

       68.    On March 23, 2023, Professor Smith, then-dean Deidre Keller, and

 Associate Dean Markita Cooper had a short meeting sometime thereafter. During that

 meeting, Keller expressed her confusion on what Compliance wanted, and Cooper sat

 quietly as though she knew nothing.

       69.    The investigation was conducted with undue and unreasonable delay, and

 extended over 130 days from January 26, 2023 to June 5, 2023 to cause needless stress

 to Professor Smith. All of MW’s allegations were found to be meritless.

       70.    Following the investigation precipitated by Professor Smith’s protected

 activity, Defendant FAMU then independently manufactured a retaliation finding

 against Professor Smith to discredit Professor Smith’s legitimate complaints against

 MW, protect Defendant FAMU from potential liability, and retaliate against Professor

 Smith for her equal pay allegations.
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       71.    Then, Defendant FAMU recommended the re-imposition of an additional

 unspecified penalty in its report emailed to Professor Smith on June 5, 2023 (“Report”)

 after Defendant FAMU had already instructed the deans to speak with Professor Smith

 about potential retaliation in March 2023, which had been done, thus duplicating the

 penalty for the same alleged retaliation.

       72.    Professor Smith did not receive anything tangible or written defining

 retaliation, and “retaliation” is not defined in any FAMU Regulations. When asked

 FAMU in litigation discovery of the definition of retaliation, FAMU responded with,

 “The University uses the ordinary meaning of the term and the letter speaks for itself.”

 (Ex. 13, FAMU Interrogatory Answers May 23, 2024, #13)

       73.    On April 12, 2023, Professor Smith signed her next school term’s

 employment contract listing the appointment dates from August 7, 2023 to May 10,

 2024. (Ex. 8) However, and because Professor Smith has tenure, the signing of a contract

 is merely ceremonial as the contract itself incorporates and references FAMU

 Regulations, including tenure and thus establishing her annual entitlement to a renewed

 contract.

       74.    On April 28, 2023, approximately 90 days after the initiation of the

 investigation in January 2023 and nearly 180 days after the incident took place, Professor

 Smith reached out to the Defendant Baker via email to inquire about the progress of the

 investigation. In response, Defendant Baker stated, "The investigation is still ongoing.

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 You will be notified once the report has been completed." This delayed investigation of

 any complaint by Defendant FAMU for nearly 100 days further compounded the

 frustration and uncertainty Professor Smith experienced throughout this process. The

 prolonged duration of the investigation, coupled with the lack of timely updates and

 adequate information of the student allegations, caused significant distress.

       75.    On April 30, 2023, Professor Smith supplemented her complaint to the

 EEOC including Defendant FAMU’s new retaliation.

       76.    Finally, Compliance emailed the report from the investigation to Professor

 Smith on June 5, 2023. That is when Professor Smith assumed the investigation ended

 as per Defendant Baker. However, Defendant FAMU was still secretly dragging the

 investigation on and keeping its options open to be able to blame Professor Smith with

 some manufactured misconduct down the road – which is exactly what happened and

 has prompted revisions to her pleadings.

       77.    Defendant FAMU failed to follow its own procedures (Code of Conduct),

 including FAMU Code of Conduct 1.019 (18b), which states: “Managers/Supervisors

 are responsible for reporting complaints received to the Office of Compliance and

 Ethics, either directly or through the FAMU Compliance and Ethics Hotline.” Defendant

 FAMU did not follow this then blamed Professor Smith. Professor Smith reported a

 complaint to a supervising dean, Associate Dean Green, on October 20, 2022. Pursuant

 to this regulation, he was responsible for reporting her complaint to Compliance. Instead,

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 Associate Dean Green told Professor Smith he would investigate her complaint then later

 told Compliance that he did not take Professor Smith’s complaint as a real complaint.

 Thus, when Professor Smith properly re-filed her original October 20, 2022 complaint

 to the Compliance hotline in March 2023, Defendant FAMU then accused Professor

 Smith of retaliating against the student for the filing of a first-time complaint in its June

 5, 2023 report.

       78.    Furthermore, FAMU Regulations conflict with the COL’s Student Code of

 Conduct, which was evidenced by the recommendation of the June 5, 2023 report (p.

 14), stating: “Consider if additional processes need to be implemented to address internal

 complaints to the law school and the transfer of complaints to investigative University

 offices.”

       79.    Defendant FAMU failed to maintain the confidentiality of the investigation,

 thereby exposing Professor Smith’s protected activity and the details of her complaint

 to other employees including Reyes. As further evidence of the breach or complete lack

 of confidentiality, Defendant FAMU misrepresented that Reyes had filed a complaint

 against Professor Smith. Defendant Scott was manufacturing a “rivalry” amongst

 Professors Smith and Reyes to then use down the line for termination, which Defendant

 FAMU did as explained in more detail below.

       80.    On June 12, 2023, Professor Smith sent a memorandum addressed to

 Defendant Calhoun (Compliance), Defendant Wallace (General Counsel), and Craig

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 Reed (BOT) and copied to Defendant Waston (Provost) about the retaliatory actions of

 Defendant FAMU, and demanded: 1) immediate rescission of the Report, 2) removal of

 the Report from her file, 3) an immediate investigation of the Code of Conduct violations

 she initially reported on October 20, 2022 (the date of the incident) against MW, and 4)

 an investigation into Compliance for its failure to follow its own guidelines, for the

 reasons herein. Professor Smith never received a response from Defendant FAMU or the

 University Employee Defendants regarding her memorandum nor any of her demands.

 (Ex. 11)

       81.    On June 13, 2023, Professor Smith supplemented her complaint to the

 EEOC including Defendant FAMU’s new retaliation.

       82.    Not even one month after supplementing her EEOC complaint, on July 6,

 2023, Defendants Baker and Calhoun (Compliance) authored a “secret” supplemental

 report on the investigation and copied Defendant Scott (EOP), where Professor Smith

 has filed her informal equal pay complaint in 2022, Defendant Watson, Defendant

 Wallace and others, but did not send a copy to Professor Smith. Importantly, the secret

 report maintained only the independently manufactured finding of retaliation without

 finding any new violations of FAMU policy, though the FAMU departments purported

 to manufacture others.

       83.    Professor Smith assumed that the investigation ended with the June 5, 2023

 report from Compliance, but unbeknownst to her, Defendant FAMU and the University

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 Employee Defendants were secretly engaged in a continual retaliation campaign against

 Professor Smith.

       84.    Professor Smith received a notice of right to sue letter from the EEOC on

 July 25, 2023.

       85.    On October 5, 2023, Professor Smith sent a memorandum to Compliance

 concerning MW’s continued fixation on Professor Smith and with ruining Professor

 Smith’s reputation. Professor Smith clarified that through the memo she “wish[ed] to

 formally express [her] concern regarding MW’s persistent and unsettling behavior

 towards [Professor Smith]” citing post-March 2023 incidents of MW’s fixation with

 Professor Smith. Professor Smith did not submit said concern through the hotline portal

 or any other reporting authority.

       86.    While Professor Smith’s October 5, 2023 memo indicated she was

 obligated to report MW, Professor Smith neither indicated that she planned to nor that

 she had already followed through on the actions.

       87.    Neither Defendant FAMU nor the University Employee Defendants

 responded to the October 5 memo.

       88.    On October 12, 2023, Defendant FAMU notified Professor Smith that she

 received “a three (3%) percent performance-based increase,” which was the highest

 increase that any employee could receive.

       89.    On October 17, 2023, Professor Smith filed her equal pay and retaliation
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 complaint in state court, but she did not attempt to serve Defendant FAMU until 2024.

       90.    On November 13, 2023, another law professor, Reyes, who had an active

 lawsuit against Defendant FAMU, notified the Gray Defendants of Professor Smith’s

 complaint in Reyes’ federal court filing entitled, “Plaintiff’s Response to Defendant’s

 Motion to Dismiss with Prejudice Plaintiff’s Second Amended Complaint, Or in the

 Alternative, Motion to Strike” on page 12.

       91.    Defendants then began the process to terminate Professor Smith.

       92.    Specifically, on or around November 13, 2023, the Gray Defendants

 contacted Defendant Wallace and informed her of Professor Smith’s unserved lawsuit

 raising equal pay and constitutional rights violations.

       93.    The Gray Defendants did not advise Defendant Wallace not to act in

 response to the information they had given her. Nor have they attempted to stop or

 mitigate Defendant Wallace’s conduct.

       94.    At all relevant times, the Gray Defendants were aware Professor Smith’s

 unserved complaint concerned equal pay, women’s rights, and constitutional rights

 issues.

       95.    The Gray Defendants are seasoned lawyers and based on their skill,

 expertise, and or experience knew or should have known that Defendant Wallace would

 act or in fact that she planned to act on the information told to her. Accordingly, the Gray

 Defendants and Defendant Wallace entered a formal or informal agreement to carry out
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 Professor Smith’s termination in violation of federal statutory and constitutional law.

       96.    Sometime shortly after learning of Professor Smith’s lawsuit, Defendant

 Wallace met separately or together with Defendants Watson, Scott, Calhoun, and Baker.

 During those meetings and communication, Defendant Wallace informally or formally

 spearheaded, encouraged, and commanded Defendant Watson and the remaining

 University Employee Defendants support Professor Smith’s termination.

       97.    The University Employee Defendants each complied and independently

 agreed to carry out Defendant Wallace’s plan for Professor Smith’s termination.

       98.    Specifically, Defendants Baker, Calhoun, and Scott gathered documents

 and submitted materials in support of Professor Smith’s termination.

       99.    Defendants Baker, Calhoun, and Scott also compiled and arranged

 materials to fabricate a rivalry between Professors Smith and Reyes, without realizing

 Professor Smith had recommended Reyes to FAMU COL for hire in 2009. Scott actually

 lied to Professor Smith that Reyes had filed a complaint against Professor Smith when

 that was absolutely false.

       100. Defendant Watson specifically met with, continued to consult, and acted

 alongside Defendants Baker, Calhoun, and Scott to serve as the cat’s paw for Defendant

 Wallace from November 13, 2023 to date about Professor Smith’s termination.

       101. Then, on December 5, 2023, Defendant Watson acted on Defendant

 Wallace’s encouragement, command, or suggestion, and Watson emailed Professor
                                            24
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 Smith a notice of intent to terminate her on January 19, 2024 with limited procedures for

 a hearing/conference on January 11, 2024. (Ex. 6) Defendant FAMU through Defendant

 Watson emailed this notice to Professor Smith on December 5, 2023 based on an alleged

 memorandum she wrote on October 5, 2023, describing her continued personal safety

 concerns with a student who continued to demonstrate unsettling, irregular and suspect

 behavior toward Professor Smith, even though FAMU Defendant rewarded Professor

 Smith with the highest salary performance-based salary increase on October 12, 2023.

 Defendant FAMU’s purported reason for terminating Professor Smith is a sham and

 subterfuge for the real reason – Professor Smith’s protected conduct alleged herein.

       102. Defendant FAMU has not terminated any male law professor for similar or

 more severe violations of FAMU policies, specifically male professors are irregularly

 investigated but when they are investigated the male professors have been found to have

 engaged in malfeasance/nonfeasance, including harassing women faculty, female

 students, and LGBTQIA-identifying students, being inappropriate with female staff,

 missing numerous classes and attending classes 20-30 minutes late, but no male faculty

 have been terminated for that conduct.

       103. Spring 2024 classes were set to start on January 8, 2024, so clearly

 Professor Smith was not expected to teach in the spring semester.

       104. At some point shortly between November 17, 2023 and December 5, 2023,

 Defendant Wallace met with the Gray Defendants to inform them of her decision to

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 terminate Professor Smith. The Gray Defendants neither objected nor attempted to

 prevent said action.

          105. On December 12, 2023, Professor Smith noticed Defendant FAMU for a

 conference pursuant to Regulation 10.120 (3).

          106. Professor Smith also requested any all evidence against her. Defendant

 FAMU neither provided any additional documents nor withheld any on the basis of

 confidentiality or a privilege.

          107. Between December 12, 2023 and January 11, 2024, Defendants Watson

 consulted Defendant Wallace to discuss Professor Smith’s termination and Professor

 Smith’s request for a conference including who to strategically place on that conference

 panel.

          108. The University Employee Defendants eventually settled on three

 employees, one of which served on the FAMU DRS board alongside Defendant Watson,

 with the informal or formal assistance, guidance, command or encouragement of

 Defendant Wallace.

          109. On January 11, 2024, a conference took place before a three (3) person

 panel selected by Provost Watson on ZOOM. The panel members were all lawyers:

 Bryan Smith, J.D., Associate VP for Student Affairs; Andrea Nelson, Esq., School of

 Business and Industry; and Patricia West, Esq., FAMU Developmental Research School.

          110. At the conclusion of the hearing, Associate Provost Dr. Reginald Perry,
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 who was over the process, indicated that a report would be produced by close of business

 on January 12, 2024.

       111. The panel’s report on January 12, 2024 recommended that Defendant

 FAMU rescind its intent to terminate and stated the following:

             Pursuant to Florida Agricultural and Mechanical University
             (“FAMU”) Board of Trustees Regulation 10.120, university
             employee, Jennifer M. Smith, duly requested a conference to hear
             employee’s response to a “Notice of Intent to Dismiss from
             Employment” letter, dated December 5, 2023, that was tendered to
             the employee.

             FAMU Regulation 10.120 (3)(a) reads as follows, “The purpose of
             the conference shall be to hear the employee’s response to the
             charges in order to protect the employee from erroneous or
             arbitrary adverse action; to afford the University an opportunity to
             reevaluate its position after reviewing the information presented by
             the employee, and to thereafter make a recommendation to affirm
             or alter the disciplinary action as may be warranted.”

             The Panel that was chosen to facilitate the January 11, 2024
             conference, convened on behalf of Jennifer M. Smith, consisted of
             university employees Andrea Nelson, Bryan F. Smith, and Patricia
             West. The Panel convened to determine whether or not it would
             make a recommendation to affirm the university’s “Notice of Intent
             to Dismiss from Employment”. After careful and thorough
             deliberation, the Panel unanimously recommends the “Notice
             of Intent to Dismiss from Employment” be rescinded as this
             Panel does not find the employee’s “re-filing” of what was
             believed to be a previously filed complaint to be an act of
             retaliation.

             In conclusion, the diligent efforts of our panel have now been
             completed.

             (emphasis added)

       112. At some point between the conclusion of the conference on January 11,


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 2024, Defendant Watson consulted with Defendant Wallace to discuss terminating

 Professor Smith notwithstanding the conference panel’s recommendation. Professor

 Smith would soon learn, albeit late and in violation of FAMU Regulations, that Provost

 Watson declined to accept the panel’s well-reasoned, unanimous recommendation.

       113. On Thursday, January 18, 2024, Professor Smith emailed Dr. Perry because

 she had not received any notice from FAMU thus far. According to Regulation

 10.120(3): “After the conference is conducted, the employee shall be notified, by the

 President or President’s designee of the University’s decision.”

       114. According to Regulation 10.120(4): “If the University determines after the

 conference that it will proceed with the proposed disciplinary action, the employee shall

 be notified within five workdays prior to the date the action is effective.”

       115. According to Regulation 10.120(1), the Defendant FAMU shall give

 written notice to the employee of the proposed action. According to Regulation

 10.120(2): “The notice shall include the following information: (a) The effective date of

 the University’s proposed final action.” This date of the proposed final action in the

 Defendant’s written notice was listed as January 19, 2024.

       116. Defendant FAMU missed notifying Professor Smith by January 18, 2024

 of its intent to proceed with her termination.

       117. At some point shortly between January 12, 2024 and January 23, 2024,

 Defendant Wallace met with the Gray Defendants to inform them of the decision to
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 uphold Professor Smith’s termination. The Gray Defendants neither objected nor

 attempted to prevent said action.

       118. On January 23, 2024 at 4:56 p.m., Professor Smith received an email with

 notice of Defendant FAMU’s intent to terminate her, stating:

              After reviewing all documentation and considering the totality of
              circumstances related to this matter, the University’s decision to
              dismiss you from employment remains in effect. Pursuant to
              Florida A&M University Board of Trustees (University)
              Regulation 10.205, you are hereby notified that your current
              employment with the University will end at the close of business
              on Tuesday, January 30, 2024. You will remain on Administrative
              Leave with Pay until this date. In the interim, please refrain from
              reporting to work or visiting the area(s) related to your current work
              assignments unless otherwise notified by this Office. The reason
              for this employment action has been outlined in the “Notice of
              Intent to Dismiss from Employment” delivered to you on
              December 5, 2023. (Ex. 7)

       119. To circumvent missing its notification timeframe by FAMU Regulations,

 Defendant FAMU admits it changed the effective date of the proposed termination that

 was in the Notice of Intent to Dismiss from Employment from January 19, 2024 to

 January 30, 2024.

       120. Defendant FAMU then outlined the procedures that Professor Smith should

 follow to appeal the decision.

       121. After Defendant FAMU ignored its panel’s recommended finding that

 Professor Smith did not retaliate and the termination notice should be rescinded, there is

 no reason to believe that she will receive due process in any appeal process. Professor

 Smith continued with her internal appeals notwithstanding.
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       122. On February 28, 2024, Professor Smith emailed her complaint and request

 for a Step One hearing pursuant to FAMU Regulation 10.206 to Associate Provost

 Reginald Perry.

       123. Soon after, Defendant Watson consulted Defendant Wallace to discuss

 Professor Smith’s termination and Professor Smith’s request for a Step One hearing,

 including who to strategically select as the Step One Reviewer.

       124. Defendants Wallace and Watson agreed to place Antoneia Roe as the Step

 One Reviewer to influence and obtain their desired outcome based on Roe’s history with

 General Counsel’s office as counsel. Defendants Wallace and Watson therefore

 instructed Roe to contact Professor Smith via the FAMU email account belonging to

 Professor Smith that Defendant FAMU had shut down shortly prior.

       125. On March 13, 2024, Professor Smith inquired to Associate Provost

 Reginald Perry whether Defendant FAMU intended to move forward with a Step One

 hearing because she had not heard from Defendant FAMU since she submitted her Step

 One complaint.

       126. At 10:46am on March 13, 2024, Dr. Perry responded to Professor Smith

 indicating that Defendant FAMU intended to move forward with a Step One hearing.

       127. On many occasions between March 11, 2024 and April 12, 2024, the Gray

 Defendants reached out to, drafted, and consulted with Defendants Wallace and Watson

 concerning Professor Smith’s termination, the status of any internal appeals, and the
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 progress of same. Specifically, the Gray Defendants doctored Wallace’s and Watson’s

 declarations to mask the firm and attorney’s unlawful activity. Furthermore, the Gray

 Defendants argued inconsistent positions to Defendant Watson’s declarations, indicating

 that Defendant Watson has only served as a puppet for Defendant Wallace and the Gray

 Defendant’s unlawful agreement. Even at this point, not one Gray Defendant attempted

 to prevent or counsel Defendant Wallace against continuing with the unlawful

 termination.

       128. Specifically, the inconsistent reasons for Professor Smith’s termination are:

                a. The initial notice from December 5, 2023 states:

                   The reason for this employment action is the substantiated finding of
                   retaliation documented in the FAMU Division of Audit and
                   Compliance Investigative Report 2022-11-117, dated June 5, 2023, and
                   Supplemental Report 2022-11-117, dated July 6, 2023, which are
                   attached and incorporated in this Notice of Intent to Dismiss from
                   Employment (“Notice”). Subsequent to the referenced reports, you
                   continued to engage in behavior which you were advised was retaliatory,
                   as evidenced by your memo dated October 5, 2023, also attached and
                   incorporated in this Notice. (Ex. 6) (emphasis added)

                b. The Notice of Termination dated January 23, 2024, the University’s
                   reason for termination was: “After reviewing all documentation and
                   considering the totality of circumstances related to this matter, the
                   University’s decision to dismiss you from employment remains in
                   effect.” This new rationale is inconsistent with the December 5, 2023
                   reasons, and FAMU Regulations require that any reasons be “specific.”
                   (Ex. 7) (emphasis added)

                c. However, on March 25, 2024, Provost Watson stated, under penalty of
                   perjury in her initial declaration, that, “My decision to termination (sic)
                   Ms. Smith’s employment was based on her unprofessional and
                   inappropriate behavior towards students as articulated in the
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               Investigative Reports.” (Ex. 14) (emphasis added)

            d. Then, on March 25, 2024, The Gray Defendants advanced a version of
               the above reason in a court filing in “Defendant’s Response In
               Opposition To Plaintiff’s Motion For Preliminary Injunction And
               Supporting Memorandum,” stating: “Defendant’s supplemental
               investigation also found that Plaintiff was unprofessional and
               inappropriate with students regarding the confrontation between
               Plaintiff and the student from the original report, and that her
               rivalry with a fellow College of Law professor was being
               internalized by students and creating a distraction.” (Ex. 16, p. 11)
               Plaintiff is not an educator of ‘impeccable character,’ rather, she
               was found to be retaliatory, unprofessional, and inappropriate with
               students, dragging them into her “rivalry” with another law
               professor.” (emphasis added)

            e. After Professor Smith served a Rule 11 sanctions motion to Gray
               Defendants on the FAMU Defendant because of the untruthful first
               declaration signed by Provost Watson, on April 11, 2024, Provost
               Watson signed a new declaration under penalty of perjury, stating that,
               “My decision to terminate Ms. Smith’s employment was based on the
               substantiated finding of retaliation documented in the Investigative
               Reports.” (Ex. 15) (emphasis added)

            f. Next, on April 12, 2024, in “Defendant’s Response in Opposition to
               Plaintiff’s Motion for Preliminary Injunction and Supporting
               Memorandum,” Gray Defendants, trying to beef up the original
               allegations, stated allegations clearly inconsistent with the initial
               reasons for termination, “Plaintiff’s employment ended because she
               retaliated against a student for making a written complaint against
               her. … Plaintiff then filed a retaliatory complaint against the
               student ‘for the purpose of ensuring that [the student] would report
               that she was the subject of an investigation on her bar application.’
               Id. This was fully investigated and substantiated by Defendant’s
               Division of Audit and Compliance in Reports 2022-11-17 and 2022-11-
               117. Id. Defendant’s supplemental investigation also found that
               Plaintiff was unprofessional and inappropriate with students
               regarding the confrontation between Plaintiff and the student from
               the original report, and that her rivalry with a fellow College Law
               professor was being internalized by students and creating a
               distraction.” “Plaintiff is not an educator of ‘impeccable character,’
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                 rather, she was found to be retaliatory, unprofessional, and
                 inappropriate with at least one student, in addition to engaging in a
                 disruptive ‘rivalry’ with another law professor.” (emphasis added)

       129. Defendant FAMU’s inconsistent and ever-changing reasons and iterations

 to Professor Smith’s termination demonstrate that it has no lawful reason for its conduct,

 and she is entitled to damages and attorney’s fees and costs, as well as reinstatement of

 her employment.

       130. On March 13, 2024 at 6:02pm, Antoneia Roe finally emailed Professor

 Smith’s personal email with information concerning the Step One hearing to take place

 on March 15, 2024. March 15, 2024 was one day later than what is required by FAMU

 Regulation 10.206.

       131. Professor Smith again requested all documents, but only received the same

 documents already available in Defendant FAMU’s notices for her termination.

 Specifically, on March 13, 2024, Antoneia Roe sent Professor Smith a dropbox link full

 of documents, allowing Roe to monitor what Professor Smith opened. Antoneia Roe did

 not indicate she withheld any documents on the basis of confidentiality or a privilege.

       132. Professor Smith did not have time to research, find, and object to Antoneia

 Roe’s selection as a reviewer until after the Step One hearing that took place on March

 15, 2024.

       133. The Step One hearing lasted less than 8 minutes, and Antoneia Roe did not

 ask a single question because she already knew her assignment from the Defendants was
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 to uphold Professor Smith’s termination.

       134. On March 18, 2024, Professor Smith submitted a draft decision to Antoneia

 Roe, but that email went unanswered.

       135. Between March 15, 2024 and Antoneia Roe’s decision, Defendants

 Watson, Wallace, Baker, Calhoun, and Scott met, spoke with, or otherwise consulted

 Antoneia Roe regarding Professor Smith’s complaint.

       136. On April 14, 2024, Antoneia Roe emailed Professor Smith a copy of the

 five-page Step One decision indicating Professor Smith’s termination would be upheld.

       137. On April 23, 2024, Professor Smith promptly filed an appeal of the Step

 One decision and requested a Step Two hearing.

       138. Between April 15, 2024 and May 2024, Defendants Watson consulted

 Defendant Wallace to discuss Professor Smith’s termination and Professor Smith’s

 request for a Step Two hearing, including who to strategically select as the Step Two

 Reviewer.

       139. Defendants Wallace and Watson agreed to place Dr. Valencia Matthews as

 the Step Two Reviewer to influence and obtain their desired outcome based on

 Matthews’ history with Defendant Watson on the Dean’s Advisory Council and based

 on the fact that Matthews is now a direct report to Provost Watson. Overturning

 Professor Smith’s termination requires Dean Matthews, among other things, to find that

 her immediate supervisor, Defendant Watson violated FAMU Regulations.
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       140. On May 1, 2024, Reginald Perry notified Professor Smith that Dr. Valencia

 Matthews would be the Step Two reviewer.

       141. On May 2, 2024, Professor Smith objected to Dr. Matthews’s selection

 because Dr. Matthews is a direct report to the Defendant Watson.

       142. On May 3, 2024, Dr. Perry responded by email indicating that the Provost’s

 Office would consult with the General Counsel: “The Office of the Provost will need to

 consult with the General Counsel to discuss your request. I will contact you again next

 week.”

       143. On May 7, 2024, U.S. Department of Justice issued Professor Smith a

 Notice of Right to Sue under Title VII of the Civil Rights Act of 1964.

       144. On May 20, 2024, Dr. Perry emailed Professor Smith: “After further

 review, it has been determined that the University will move forward with the previously

 selected reviewer. Therefore, Dean Matthews will be in contact with you to arrange for

 your Step Two meeting.”

       145. On June 7, 2024, the Step Two hearing was scheduled with Dean Matthews

 in violation of FAMU Regulation 10.206, which required the Step Two hearing to be

 scheduled by May 8, 2024. It is scheduled for June 20, 2024 from 2-3pm.

       146. After Professor Smith raised concerns about the pay disparity and

 expressed her intention to exercise her rights under the EPA, Defendant FAMU engaged

 in a campaign of retaliatory actions against Professor Smith.
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       147. Defendant FAMU’s retaliation against Professor Smith includes the

 adverse employment actions as described above, including the baseless investigation of

 the October 20, 2022 incident with MW, manufacturing conflicting allegations of

 misconduct, and ultimately terminating Professor Smith’s employment.

       148. Defendant FAMU’s retaliatory actions against Professor Smith were

 motivated by Plaintiff's exercise of her rights under the EPA, in violation of 29 U.S.C. §

 215(a)(3) and the other provisions of federal law as indicated below, and is entitled to

 damages and attorney’s fees and costs as well as reinstatement of her tenured position

 as a law professor.

                              COUNT I
                 DISCRIMINATION IN COMPENSATION
            EQUAL PAY ACT OF 1963, AS INCORPORATED INTO
          THE FAIR LABOR STANDARDS ACT 29 U.S.C. § 206, et seq.,
                     AGAINST DEFENDANT FAMU

       149. The Plaintiff realleges paragraphs 1 through 36.

       150. Plaintiff belongs to a protected class; she is female.

       151. Plaintiff’s job functions as a tenured full professor at FAMU have been of

 equal skill, effort, and responsibility to the job functions of the Comparator, also a

 tenured full professor, and were performed under the same or similar working

 conditions.

       152. During all relevant periods, Plaintiff received wages lower than the

 Comparator while performing the same or substantially more work than the Comparator.
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       153. Plaintiff is qualified for and entitled to wages equal to or higher than her

 Comparator’s wages performing the same or substantially more work than the

 Comparator.

       154. Defendant FAMU violated the Equal Pay Act (EPA), and Plaintiff is

 entitled to damages and equitable relief, including attorney’s fees and costs, as described

 below.

                                    COUNT II
                                  RETALIATION
                  EQUAL PAY ACT OF 1963, AS INCORPORATED INTO
                 THE FAIR LABOR STANDARDS ACT, 29 U.S.C. § 215(a)(3),
                            AGAINST DEFENDANT FAMU

       155. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 37 through 148.

       156. Defendant FAMU's retaliatory actions against Plaintiff, as alleged herein,

 and by its employees acting under of color of law constitute a violation of the EPA, 29

 U.S.C. § 215(a)(3).

       157. The retaliation described herein was based on Plaintiff’s exercise of rights

 protected by law to resist and oppose gender discrimination and harassment and to

 participate in actions calculated to redress grievances.

       158. Plaintiff’s resistance to unlawful activity was both objectively and

 subjectively reasonable based on the timing of the Defendants actions and the lack of

 transparency and fairness throughout the process as explained in more detail above.
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       159. As a result of Defendant FAMU's retaliatory actions in violation of the

 EPA, Plaintiff has suffered and is entitled to compensatory and punitive damages.

                                  COUNT III
                             BREACH OF CONTRACT
                           AGAINST DEFENDANT FAMU

       160. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26, 41-42, 49, 53-58, 69-70, 72-73, 78-79, 85-92, 99,101, 111-120, and 129.

       161. Defendant FAMU operates the law school at 201 FAMU LAW Lane,

 Orlando FL 32801.

       162. Each employment contract entered between Professor Smith and Defendant

 FAMU stated some variation of “Non-reappointment, separation or termination of

 employment for employees outside of the above-referenced categories will occur in

 accordance with FAMU regulation 10-207 and applicable regulations, policies and

 procedures of FAMU.” Thus, the COL, the Defendant’s BOT, and faculty have all

 agreed to adhere to the terms of the Faculty Handbook, Student Handbook, FAMU

 Handbook, and FAMU Regulations by way of the individual employment contracts.

       163. Defendant FAMU, though the above noted documents, has made

 unambiguous promises to Plaintiff including promises regarding tenure, retention of

 tenured faculty, governance of the COL, commitments to investigate faculty complaints,

 and termination of tenured faculty.

       164. Plaintiff’s employment letter, together with the Faculty Handbook, FAMU
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 Handbook and FAMU Regulations are what forms Plaintiff’s employment contract.

        165. Defendant FAMU has failed to meet its contractual obligations to Plaintiff

 because Defendant FAMU has allowed its employees to fabricate claim(s) against

 Professor Smith disguised as just cause and as subterfuge to terminate her employment

 as a tenured full professor, thereby breaching her employment contract.

        166. As a result of Defendant FAMU’s breach of contract, Plaintiff has suffered

 actual and consequential damages including loss of future wages, lost insurance and

 retirement benefits, and special damages, including the loss of future academic

 employment and opportunities.

        167. Plaintiff seeks actual, consequential, and special damages and pre-

 judgment and post-judgment interest for Defendant FAMU’s wrongful breach of

 Plaintiff’s employment contract, thus compensatory and punitive damages.

                                      COUNT IV
                            FIRST AMENDMENT RETALIATION
                               AGAINST DEFENDANT FAMU

        168. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 52-56, 70, 89 through 148.

        169. By filing her EEOC and state court complaints for equal pay and speaking

 on issues of public concern, Plaintiff engaged in constitutionally protected activity.

 Specifically, it is well known that one litigant often serves as the catalyst for change in

 civil rights litigation.
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        170. Following Plaintiff's engagement in the constitutionally protected activity,

 Defendant FAMU took adverse employment actions against Plaintiff.

        171. These adverse employment actions included baseless investigation of

 Plaintiff, manufacturing false claims to fire Plaintiff, fabricating their definition of just

 cause without due process of undefined terms, issuing a notice of termination against

 Plaintiff, and terminating her.

        172. These adverse employment actions were taken in retaliation for Plaintiff's

 exercise of her First Amendment rights and her engagement in constitutionally protected

 activity.

        173. Defendant FAMU's adverse employment actions against Plaintiff, in

 response to her constitutionally protected activity, constitute unlawful retaliation in

 violation of the First Amendment to the United States Constitution.

        174. Defendant FAMU could not and would not have made the decision to

 terminate Professor Smith but for her protected activity as evidenced by its inability to

 provide a clear reason for the adverse action(s) taken against her.

        175. Plaintiff has suffered damages as a result of Defendant FAMU's retaliatory

 actions, including but not limited to financial losses, emotional distress, harm to

 reputation, and other injuries, as well as other compensatory damages and punitive

 damages.



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                                  COUNT V
                        REQUEST FOR PRELIMINARY AND
                        PERMANENT INJUNCTIVE RELIEF
                          AGAINST DEFENDANT FAMU

       176. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 148.

       177. Defendant FAMU has terminated Plaintiff in violation of her tenure status

 and because of her pursuit of equal pay.

       178. Plaintiff has suffered and will suffer irreparable damage if her employment

 is terminated as noticed as she will be unable to find any similar employment as a tenured

 full professor in her area and her professional reputation will be seriously and

 permanently injured. Furthermore, Plaintiff has already suffered considerably

 irreparable harm as she has been unable to continue her functions as a legal academician

 to complete promised law review articles.

       179. “In view of the uncertainty in admeasuring damages because of the

 indefinite duration of the contract, and the importance of the status of Plaintiffs in the

 milieu of the college teaching profession, it is evident that the remedy of damages at law

 would not be complete or adequate.” AAUP v. Bloomfield College, 136 N.J. Super. 442,

 448, 346 A.2d 615, 618 (1975); Zisk v. The Charleston School of Law (2015)

       180. Monetary damages cannot provide sufficient relief or compensation to

 Plaintiff as the loss of her position as a tenured full professor cannot be valued

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 monetarily, and loss of tenure will have a significant detrimental impact on her legal and

 academic career. Moreover, Plaintiff cannot be compensated for lost career advancement

 at the College of Law.

       181. Plaintiff is likely to prevail on the legal merits of her cause of action as set

 forth in this complaint.

       182. Plaintiff seeks a court order in the form of preliminary and permanent

 injunction compelling Defendant FAMU to honor her tenure status and employment

 contract, thus restoring the status quo until this matter is resolved.

                                 COUNT VI
                 TITLE VII OF THE CIVIL RIGHTS ACT OF 1964,
                     AS AMENDED, 42 U.S.C. §2000e et seq.
                        AGAINST DEFENDANT FAMU

       183. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 101 through 148.

       184. Plaintiff was employed by Defendant FAMU as a law professor from 2004

 to 2024.

       185. On January 31, 2024, Defendant FAMU purported to terminate Plaintiff

 from her tenured law professor position for an alleged violation of FAMU policy.

       186. During the same 2004 to 2024 time period, male law professors working

 for Defendant FAMU committed similar or more serious violations of FAMU policy,

 but were either never investigated or not terminated after a finding of having committed

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 the violation.

       187. Defendant FAMU's stated reason for terminating Plaintiff was pretext for

 unlawful sex discrimination, as evidenced by many things including: the conflicting

 reasons Counsel has argued to this Court, Defendant Watson’s conflicting two

 declarations, and the disparate treatment of Plaintiff compared to similarly situated male

 law professors who were not terminated for similar or more serious violations.

       188. Plaintiff's termination was motivated by her sex and was retaliation for her

 resistance and opposition to Defendant FAMU's unlawful compensation practices under

 the Equal Pay Act, which constitutes protected activity under Title VII.

       189. By the conduct described above, Defendant FAMU discriminated against

 Plaintiff on the basis of her sex and retaliated against her for engaging in protected

 activity, in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

 § 2000e et seq., causing her to suffer compensatory and punitive damages.

                                        COUNT VII
                  42 U.S. C. § 1985(3) – CONSPIRACY TO INTERFERE
                                  WITH CIVIL RIGHTS
                             AGAINST GRAY DEFENDANTS

       190. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 89 through 148.

       191. The Gray Defendants and University Employee Defendants conspired to

 deprive Plaintiff of her constitutional rights to due process under the Due Process Clause

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 of the U.S. Constitution and freedom against retaliation under the First Amendment, her

 statutory right to freedom from discrimination under the EPA and Title VII, her statutory

 right to freedom from retaliation for exercising rights under the EPA, by agreeing to

 terminate Plaintiff’s tenured employment in retaliation for her filing a lawsuit against

 Defendant FAMU citing EPA and constitutional claims as a woman professor.

       192. The purpose of the conspiracy was to deprive Plaintiff indirectly or directly

 of (1) equal privileges including her due process rights as a woman compared to men

 who have been accused of similar or more serious violations of FAMU policy and (2)

 equal protection under law as a woman.

       193. The Gray Defendants’ overt acts are detailed above but include their

 informing Defendant Wallace of Plaintiff’s unserved lawsuit alleging EPA violations

 without any measure to ensure Wallace would not act upon that information. The Gray

 Defendants actions and inactions effectively established their role in the conspiracy as

 the advisers or consiglieres of the plan to terminate Plaintiff.

       194. Defendant Wallace acted upon the Gray Defendants’ information, and she

 informally or formally encouraged, suggested, commanded or facilitated Defendant

 Watson to terminate Plaintiff in light of the learned information about Plaintiff’s lawsuit.

       195. As a result of the conspiracy, Plaintiff was wrongfully terminated, suffered

 irreparable reputational damage, emotional distress, and other losses to her career as a

 legal academician, including loss of advancement and scholarship opportunities,

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 compensatory and punitive damages.


                                         COUNT VIII
                  42 U.S.C. § 1986 – FAILURE TO PREVENT CONSPIRACY
                               AGAINST GRAY DEFENDANTS

       196. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 89 through 148.

       197. On October 17, 2023, Plaintiff filed a complaint in the state court for equal

 pay and retaliation, alleging that Defendant FAMU violated her rights under the Equal

 Pay Act.

       198. Plaintiff did not attempt to serve the complaint until 2024.

       199. On or around November 13, 2023, Gray Defendants informed Defendant

 FAMU via Defendant Wallace about the filed but unserved state court complaint.

       200. Defendants, having knowledge of the complaint and the potential violation

 of Plaintiff's rights, conspired to terminate Plaintiff's employment to prevent her from

 pursuing her equal pay claim.

       201. On December 5, 2023, Plaintiff received a notice of intent to terminate her

 from her position at Defendant FAMU, 22 days after the Gray Defendants learned of

 Professor Smith’s state court complaint filing.

       202. Gray Defendants had the power to prevent the wrongful termination but

 neglected and or refused to do so.

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       203. Gray Defendants had knowledge of the conspiracy to violate Plaintiff's civil

 rights under 42 U.S.C. § 1985.

       204. Gray Defendants had the power to prevent the wrongful termination of

 Plaintiff but neglected or refused to do so.

       205. As a direct and proximate result of Gray Defendants' neglect, Plaintiff

 suffered compensatory and punitive damages.

                                    COUNT IX
                         SECTION 1983 – CIVIL CONSPIRACY
                  AGAINST THE UNIVERSITY EMPLOYEE DEFENDANTS

       206. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 37 through 148.

       207. On October 17, 2023, Plaintiff filed a complaint in the state court for equal

 pay and retaliation, alleging that Defendant FAMU violated her rights under the Equal

 Pay Act.

       208. Plaintiff did not attempt to serve the complaint until 2024.

       209. On or around November 13, 2023, Gray Defendants informed Defendant

 about the filed but unserved complaint.

       210. On December 5, 2023, Plaintiff received a notice of termination that she

 would be terminated from her position at Defendant FAMU, 22 days after the Gray

 Defendants learned of Professor Smith’s state court complaint filing.


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       211. University Employee Defendants' actions were taken under color of state

 law and deprived Plaintiff of her rights, privileges, or immunities secured by the

 Constitution and laws of the United States, including her right to equal protection and

 due process under the Fourteenth Amendment.

       212. After Defendant Wallace learned of Plaintiff’s lawsuit she regularly and

 consistently communicated with, encouraged, commanded, suggested and or facilitated

 Defendants Watson, Baker, Calhoun, and Scott (collectively the University Employee

 Defendants) to reach an agreement to carry out Plaintiff’s termination in retaliation for

 Smith’s lawsuit asserting EPA, first amendment, and procedural due process claims.

       213. In addition to the acts mentioned above, Defendants Baker, Calhoun, and

 Scott specifically acted in furtherance of this conspiracy when they collected written

 documents from their respective department files, prepared statements, compiled

 evidence, manufactured evidence, created false narratives, breached confidentiality,

 falsely represented the end of the investigation, failed to follow FAMU Regulations and

 policy, shielded documents under the guise of privilege or confidentiality, met with

 Defendants Watson and Wallace to support the ultimate decision to terminate Plaintiff,

 and communicated with reviewers in the process of Plaintiff’s internal appeals to

 influence or otherwise suggest she be terminated.

       214. In addition to the acts mentioned above, Defendant Watson specifically

 acted in furtherance of this conspiracy by terminating Plaintiff and upholding the

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 termination after consistently consulting with Defendant Wallace; consulting Defendant

 Wallace on the predetermination conference panel members and biased Step One and

 Two reviewers; acting at the instruction of Defendant Watson, involving other FAMU

 employees and carrying out all other actions mentioned in the above paragraphs.

       215. As a direct and proximate result of the University Employee Defendants’

 conspiracy, Plaintiff suffered damages including loss of employment, lost wages and

 benefits, emotional distress, and other compensatory damages as well as punitive

 damages.

                                 COUNT X
                     DUE PROCESS IN VIOLATION OF THE
                     U.S. AND FLORIDA CONSTITUTIONS
                         AGAINST DEFENDANT FAMU

       216. The Plaintiff realleges all relevant paragraphs including but not limited to

 1 through 26 and 53-61, 66-69, 71-72,78-82, 89, 91 101 through 148.

       217. Plaintiff had a constitutionally protected property interest in her continued

 employment as a tenured law professor with FAMU.

       218. Defendant FAMU deprived Plaintiff of this property interest by terminating

 her employment.

       219. In effecting Plaintiff's termination, Defendant FAMU failed to provide

 Plaintiff with adequate procedural due process protections, including: a) Employing

 biased and partial internal complaint reviewers who acted as the cat’s paw for

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 Defendants Wallace and Watson, who themselves had knowledge of Plaintiff's pending

 Equal Pay Act lawsuit, rendering any internal appeal futile and violating Plaintiff's right

 to an impartial decisionmaker; b) Failing to provide Plaintiff with the definition of

 "retaliation" used as the basis for her termination, which was vague, arbitrarily applied,

 and prevented Plaintiff from conforming her conduct, in violation of due process notice

 requirements; c) Failing to follow its own policies and procedures regarding the timing

 and appeals process for challenging the termination decision.

       220. Defendant FAMU’s post-deprivation process was constitutionally

 inadequate to remedy the prejudicial pre-termination violations described above.

       221. As a direct and proximate result of Defendant FAMU’s failure to provide

 adequate procedural due process protections, Plaintiff suffered damages including loss

 of employment, lost wages and benefits, emotional distress, and other compensatory

 damages.


                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

              a) An order reinstating Plaintiff to her position as a tenured law professor;

              b) An order granting preliminary and permanent injunctive relief;

              c) An order declaring that Defendant has violated the Equal Pay Act,

                 including retaliation provisions;

              d) An order declaring that Defendant FAMU has violated Title VII.
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            e) An order declaring that Defendant FAMU has violated the First

               Amendment and due process clause of the U.S. Constitution;

            f) An order removing any negative references to the October 20, 2022

               incident from Plaintiff’s employment file;

            g) An award of unpaid wages and other compensation due to Plaintiff as a

               result of Defendant's violation of the EPA, including interest;

            h) A declaration that the Gray Defendants’ actions violated 42 U.S.C. §§

               1985(3) and 1986 and an award of compensatory damages;

            i) Punitive damages, special damages, actual damages and consequential

               damages;

            j) Loss of future employment opportunities;

            k) Front pay;

            l) Judgment against Defendants and for Plaintiff awarding compensatory

               damages on all Counts for the Defendants’ violations of law enumerated

               herein;

            m) Judgment equalizing Plaintiff's salary with her male Comparator who

               was paid more for substantially equal work, and permanently enjoining

               Defendants from future violations of law enumerated herein and

               remedying all benefits of which Plaintiff has been unlawfully deprived

               (such as retirement contributions, insurance etc.) of as enumerated

               herein;
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            n) Restoring sick leave and other benefits;

            o) Compensatory damages in the amount of the full pay differential

                between Professor Smith's salary and the Comparator's salary for the

                period she was underpaid, representing the appropriate compensation

                for her 10 years' greater experience performing substantially equal

                work;

            p) An award of liquidated damages in an amount equal to the unpaid wages

                and compensation due to Plaintiff;

            q) Prejudgment interest and post-judgment interest;

            r) An award of reasonable attorneys' fees and costs pursuant to the

                statutory provisions referenced in the complaint, e.g.: Equal Pay Act,

                Title VII, § 1983, § 1985, and § 1986.

            s) Any other relief, including equitable relief, this Court deems just and

                proper.

                                   JURY DEMAND
        Plaintiff demands trial by jury on all issues so triable.

                   Respectfully submitted,

                   /s/ Jennifer Smith
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